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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 7
      STATE OF WASHINGTON,                            C17-5806RJB
 8
                              Plaintiff,
 9
                  v.
10
      THE GEO GROUP, INC., a Florida
11    corporation,

12                            Defendant.

13
      UGOCHUKWU GOODLUCK                              C17-5769RJB
14    NWAUZOR, individually and on
      behalf of all those similarly situated,
15    and FERNANDO AGUIRRE-                           AMENDED
      URBINA, individually,
16                                                    COURT’S CASE INTRODUCTION
                                      Plaintiffs,     TO ALL JURORS
17
                  v.
18
      THE GEO GROUP, INC., a Florida
19    corporation,

20                                Defendant

21
           Dated this _____ day of __________________, 2021.
22

23                                         ______________________________________
                                           Robert J. Bryan
24                                         United States District Judge


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 1           Ladies and Gentlemen:

 2           We are conducting civil trials remotely, on the Zoom platform, because of the pandemic.

 3   This means that jurors will not be required to come to the Courthouse every day, but will

 4   participate by computer from home or your private space or office. The obligations of jurors will

 5   be the same as if you were in the courtroom. You must be able to give these cases your full

 6   attention from 9:00 a.m. until 4:00 p.m. throughout the trial. Also, you must follow the orders

 7   and instructions of the Judge and court staff.

 8           The first order of business today is for me to tell you a bit about the cases we are going to

 9   try and to introduce the participants in the trial.

10           We have joined two cases together for the first phase of this trial, because the two cases

11   share common issues. After those issues are resolved, the same jury may be called upon to hear

12   a second phase of the case.

13           The Plaintiff in the first case is the State of Washington. The State here is represented by

14   Assistant Attorneys General _______________________ and

15   ____________________________.

16           The Plaintiffs in the second case are Ugochukwu Goodluck Nwauzor and Fernando

17   Aguirre-Urbina. Their lawyers are ______________________________ and

18   __________________________. These Plaintiffs are here on their own behalf, and Mr.

19   Nwauzor as the representative of a class of others. Their claims are described as a class action.

20   A class action is a lawsuit that has been brought by one or more plaintiffs on behalf of a larger

21   group of people who have similar legal claims. All of these people together are called a “class.”

22   In a class action, the claims of many individuals can be resolved at the same time instead of

23   requiring each member to sue separately over the same issue. Because of the large number of

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 1   possible claims that are in the case, not everyone in the class will testify. The evidence at trial

 2   applies to all class members. All members of the class will be bound by the result of this trial.

 3          In this second case, the Plaintiffs’ class consists of the following:

 4          All civil immigration detainees who participated in the Voluntary Work Program at the
            Northwest Detention Center at any time between September 26, 2014, and the date of
 5          final judgment in this matter.
 6
            The Defendant in both cases is The GEO Group, Inc., a corporation also known as
 7
     “GEO.” GEO’s lawyers are _____________________________ and _____________________.
 8
            The parties have agreed on certain facts that will give you the background of the issues.
 9
     The following facts are admitted by the parties:
10
            1.      GEO owns and operates the Northwest Immigration and Customs Enforcement
11
     Processing Center, which was known from 2005 to 2019 as the Northwest Detention Center (the
12
     Center). It is located at 1623 East J Street, Tacoma, Washington.
13
            2.      Since October of 2005, GEO has contracted with U.S. Customs and Immigration
14
     Enforcement (ICE) within the U.S. Department of Homeland Security to provide civil
15
     immigration detention management services at the Center for adults held in administrative
16
     custody as they await immigration status review by ICE and the federal judiciary.
17
            3.      GEO has expanded the capacity of the Center. The Center initially had the
18
     capacity to house between 500 to 800 individuals. In July 2006, GEO expanded the Center to
19
     house up to 1,000 individuals. In October 2009, GEO expanded the Center a second time so that
20
     it now has the capacity to house up to 1,575 individuals.
21
            4.      Pursuant to the Center contract between GEO and ICE, GEO provides detention
22
     services to ICE including, but not limited to: the building, management and administration,
23

24


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 1   security, clean and vermin free facilities, food service with three nutritious meals per day, clean

 2   uniforms and bedding, and barbershop/grooming services.

 3          5.      Pursuant to the Center contract between GEO and ICE, GEO is required to

 4   “perform in accordance with” specific “statutory, regulatory, policy, and operational”

 5   constraints, including the ICE/Department of Homeland Security Performance Based National

 6   Detention Standards, as well as “all applicable federal, state, and local laws.”

 7          6.      The Performance Based National Detention Standards, and its predecessor the

 8   National Detention Standards, is a set of standards developed by ICE to ensure that all entities it

 9   contracts with provide safe and secure facilities.

10          7.      Performance Based National Detention Standard 5.8 requires that GEO offer

11   detained persons an opportunity to work in a Voluntary Work Program (VWP).

12          8.      Since October of 2005, GEO has offered detainees positions in its Voluntary

13   Work Program.

14          9.       On a given day, there could be as many as 470 positions for detainees in the

15   Voluntary Work Program at the Center.

16          10.     While detained, detainees do not have the opportunity to leave the Center or work

17   outside of the Center, unless explicitly authorized by ICE.

18          11.     GEO does not review whether detainee-workers have work authorization when

19   reviewing their requests/applications for positions in the Voluntary Work Program.

20          12.     GEO maintains job descriptions for Voluntary Work Program positions.

21          13.      Positions that are available to detainees in the Voluntary Work Program are

22   varied, including in the kitchen, in the laundry room, cleaning of common areas, and cutting hair

23   in the barbershop.

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 1             14.   GEO provides detainees in Voluntary Work Program positions with all

 2   equipment, materials, supplies, uniforms, and personal protective equipment necessary to their

 3   Voluntary Work Program position.

 4             15.   GEO has never paid detainees in Voluntary Work Program positions the state

 5   minimum wage.

 6             16.   GEO has paid and continues to pay detainees in Voluntary Work Program positions

 7   $1 per day.

 8             17.   Performance Based National Detention Standard 5.8 states: “Detainees shall

 9   receive monetary compensation for work completed in accordance with the facility’s standard

10   policy. The compensation is at least $1.00 (USD) per day.”

11             18.   GEO employs non-detainee employees, including two or three janitors at the

12   Center.

13             19.   Washington’s hourly minimum wage from 2005 to the present year has gone from

14   $7.35 on January 1, 2005, to $13.50 on January 1, 2020.

15
               20.   Mr. Nwauzor is a citizen of Nigeria, and was granted asylum in the United States
16
     in January 2017.
17
               21.   Mr. Nwauzor was held at the Center as a civil immigration detainee from
18
     approximately June 2016 until January 2017.
19
               22.   Mr. Nwauzor held a Voluntary Work Program position during his detention at the
20
     Center.
21
               23.   Mr. Nwauzor obtained lawful permanent residence status, commonly known as a
22
     “green card,” in July 2018.
23
               24.   Mr. Aguirre-Urbina was born in Mexico.
24


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 1           25.      Mr. Aguirre-Urbina was held at the Center as a civil immigration detainee

 2   beginning in September 2012.

 3           26.      Mr. Aguirre-Urbina held a Voluntary Work Program position during his detention

 4   at the Center.

 5           All parties agree that the first issues to be tried are whether GEO is required to pay the

 6   hourly minimum wage to detainees in the Voluntary Work Program at the Center under the State

 7   of Washington’s Minimum Wage Act; and does intergovernmental immunity render GEO

 8   immune from liability under the Minimum Wage Act?

 9           The Plaintiff State of Washington brings the first case as an enforcement action, to

10   require GEO to adhere to Washington State’s Minimum Wage Act. In the second case, the class

11   Plaintiffs’ claim is to recover money they claim is due, under the Minimum Wage Act, for work

12   performed as part of the Voluntary Work Program.

13           Defendant denies the Plaintiffs’ claims and affirmatively claims that GEO is immune

14   from Plaintiffs’ claims under the law.

15           Plaintiffs deny Defendant’s claims.

16           The parties have the burden of proving any claim or affirmative defense by a

17   preponderance of the evidence, which means you must be persuaded by the evidence that the

18   claim or affirmative defense is more probably true than not true.

19           GEO has been the subject of news reports on other subjects lately that are not directly

20   relevant to these cases. These cases are not about whether the government’s contracting with

21   private entities to operate detention facilities is a good or bad policy, nor is it about specific

22   events at the Center, unrelated to the issue of minimum wage and the Voluntary Work Program.

23   These cases are also not about United States’ immigration policy or border issues.

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 1          An important part of these cases is jury selection. In order that the cases be tried before

 2   an impartial jury, the lawyers and I will ask you questions, not to embarrass you or to pry into

 3   your private affairs, but to determine if you are unbiased and without preconceived ideas which

 4   might affect the cases. You should not withhold information in order to be seated on this

 5   particular jury. You should be straightforward in your answers rather than answering in the way

 6   you feel the lawyers or I expect you to answer. Your answers will be under oath. It is presumed

 7   that when a jury has been selected and accepted by both sides, each of you will keep an open

 8   mind until the cases are finally submitted, will accept the instructions of the Court, and will base

 9   any decision upon the law and the facts uninfluenced by any other considerations. The purpose

10   of the questions is to determine if you have that frame of mind.

11          The lawyers have the right and duty to challenge any jurors for cause. They may also

12   challenge a certain number of jurors without giving any reason as a guarantee to both parties that

13   they may remove some jurors if they wish. You should not take offense if you are challenged,

14   because the challenges are not exercised as a personal reflection on you.

15          A number of witnesses may testify in these cases. I have asked counsel to list the

16   witnesses that are local, and I will read the list to you. Make a mental or written note of anyone

17   on the list of witnesses that you know, or know of, and we will ask you about that in the

18   questioning. Possible witnesses are: _____________________________________________

19          We are going to divide you up into groups of ________________ for inquiry into

20   whether each of you can serve as fair and impartial jurors in these cases.

21          I ask each of you for your patience. We will work as fast as we can.

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